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                            UNITED STATES DISTRICT COURT
  14                      SOUTHERN DISTRICT OF CALIFORNIA
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  16   Ms. L., et al.,                                     Case No. 18-cv-00428-DMS-MDD
  17                         Petitioner-Plaintiff,
       v.
  18                                                       Date Filed: July 25, 2018
     U.S. Immigration and Customs Enforcement
  19 (“ICE”), et al.,
                                                           PLAINTIFFS’ MOTION TO
  20                                                       FILE OVERLENGTH REPLY
                              Respondents-Defendants.      BRIEF
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  1         Pursuant to Local Rule 7.1(h), Plaintiffs respectfully request leave to file a 14
  2   page Reply in support of their Motion for Stay of Deportation. Plaintiffs’ opening
  3   brief was only 10 pages. Plaintiffs submit that the additional space is necessary to
  4   fully address recent factual developments and the arguments in Defendants’
  5   opposition. Counsel for the Government has indicated that Defendants do not oppose
  6   this request.
  7
      Dated: July 25, 2018                     Respectfully Submitted,
  8
                                               /s/Lee Gelernt
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  1                              CERTIFICATE OF SERVICE
  2
             I hereby certify that on July 25, 2018, I electronically filed the foregoing with
  3
       the Clerk for the United States District Court for the Southern District of California
  4
       by using the appellate CM/ECF system. A true and correct copy of this brief has
  5
       been served via the Court’s CM/ECF system on all counsel of record.
  6
                                                     /s/ Lee Gelernt
  7
                                                     Lee Gelernt, Esq.
  8
                                                    Dated: July 25, 2018
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